Court of Appeals
of the State of Georgia

                                                               ATLANTA, October 02, 2017

The Court of Appeals hereby passes the following order

A18D0085. ROCHELE FRETT v. STATE FARM EMPLOYEE WORKERS’
    COMPENSATION et al..


     Upon consideration of the Application for Discretionary Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of Superior Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

17CV6233




                                       Court of Appeals of the State of Georgia
                                            Clerk's Office, Atlanta, October 02, 2017.

                                            I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                            Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                                          , Clerk.
